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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION AT DAYTON

UNITED STATES OF AMERICA,

         Plaintiff,                                  Case No. 3:24-cr-30

vs.

MUSTAPHA WESLEY,                                     District Judge Michael J. Newman

      Defendant.
______________________________________________________________________________

   ORDER DIRECTING THE CLERK TO TERMINATE AS MOOT DEFENDANT’S
            MOTION TO WITHDRAW HIS GUILTY PLEA (Doc. No. 36)
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         This criminal case is before the Court upon Defendant Mustapha Wesley’s motion, filed

through counsel, to withdraw his guilty plea (Doc. No. 36), and Defendant’s notice of his intention

to withdraw his motion to withdraw his guilty plea (Doc. No. 39). In light of Defendant’s notice,

the Court DIRECTS the Clerk to TERMINATE AS MOOT Defendant’s motion to withdraw his

guilty plea.

         IT IS SO ORDERED.

         May 8, 2025                                 s/Michael J. Newman
                                                     Hon. Michael J. Newman
                                                     United States District Judge
